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                                                    January 19, 2023

VIA ECF

Hon. Joan M. Azrack, USDJ
United States District Court
Eastern District of New York
100 Federal Plaza
Central Islip, NY 11722

       Re:     Hernandez, et ano v Rosso Uptown Ltd, et al, Case No. 20-cv-04026-JMA-SIL

Dear Judge Azrack:

         I represent the plaintiffs Santos Hernandez and Emanuel De Jesus Lievano in this
FLSA/NYLL action. Plaintiffs are former employees of Rosso Uptown, Ltd., a restaurant bas
Port Washington, New York. Please accept this pre-motion letter regarding our anticipated
motion for both default judgment against the Corporate Defendant Rosso Uptown, Ltd. for its
failure to defend, and summary judgment as to the individual liability of the Defendants
Massimo Gammella and Michelle Tizzano.

         The Default of the Defendant Rosso Uptown, Ltd. has Been Noted by the Court. On
March 18, 2021, the Hamra Law Group filed a motion to withdraw as counsel for Rosso
Uptown, Ltd., and for a stay of 45 days to retain alternate counsel. (See ECF No. 17). On March
25, 2021 the Court issued an electronic order stating, in part: "Without opposition, Hamra Law
Group, PC is terminated as counsel for Defendants, and Defendants' request for a 45-day stay to
retain alternate counsel is granted." Rosso Uptown, Ltd. had until May 9, 2021 to retain new
counsel to defend the action. On July 2, 2021 plaintiff requested that the Defendant Rosso
Uptown be directed to show cause why a default should not be entered against them for their
failure to Defend. (ECF No. 23).

       On March 30, 2022 the Court Directed Rosso Uptown to show cause on May 16, 2022 at
1:00 PM why default should not be entered against it. Rosso Uptown, Ltd. once again failed to
appear and leave to file a motion for default was granted.

                          INDIVIDUAL EMPLOYER LIABILITY

       “The Second Circuit has interpreted ‘employment for FLSA purposes as a flexible
concept to be determined on a case-by-case basis by review of the totality of the circumstances.’”
Ocampo v. 455 Hosp. L.L.C., No. 14-CV-9614 (KMK), 2021 U.S. Dist. LEXIS 178875, at *16-
17 (S.D.N.Y. Sept. 20, 2021) (citing Barfield v. N.Y. City Health & Hosps. Corp., 537 F.3d 132,
141-42 (2d Cir. 2008)). An individual who exercises sufficient control over a worker is



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individually liable under the FLSA and the NYLL. Carter v. Dutchess Cmty. Coll., 735 F.2d 8
(2d Cir. 1984). The factors to be considered are whether the individual controlled (1) the
formation of the employer-employee relationship (hiring and firing), (2) employees in the
performance of their work by supervising them, (3) the terms of employment by setting work
schedules and compensation, or (4) employment records of the employee. Barfield.

         Massimo Gammella. Massimo Gammella testified at his deposition that the Plaintiffs
worked for him at Rosso Uptown, Ltd. (Gammella Dep. 8:5-8:14).1 He had the power to hire and
fire the Plaintiffs. (Gammella Dep. 48:2-48:5). Together with another manager he controlled the
Plaintiffs’ work schedules. (Gammella Dep. 48:6-48:15). He maintained their payroll records.
(Gammella Dep. 48:16-48:22). He determined the rate of pay. (Gammella Dep. 48:23-48:24). He
owned Rosso Uptown. (Gammella Dep. 48:25-49:3).

        Michael Tizzano. On September 30, 2020 Michael Tizzano submitted a sworn statement
to the Court (ECF No. 8) stating: “I never had interactions with the plaintiffs, so I could not hire
them, supervised them (sic.), control their work etc.” On January 14, 2022, Mr. Tizzano went a
step further, swearing to the court that he has “no affiliation with Rosso Uptown.” (ECF No. 29).

        This is not the first time that Mr. Tizzano and Mr. Gammella were sued for wage and
hour violations arising out of their management of Rosso Uptown, Ltd. The FLSA/NYLL case of
Barrera v. Pepe Rosso 24, Inc., 18-cv-04558 , was filed against, inter alia Tizzano, Gammella,
and Rosso Uptown, Ltd. on August 13, 2018. That case was assigned to Your Honor. Mr.
Tizzano stated that he was honest with this Court in his answer to the complaint in the Barrera
case. (Tizzano Dep. 63:8-63:17). But his answer in Barrera admits that “Tizzano was a joint
owner and manager of Rosso Uptown” (¶ 13), and that “Defendant, Tizzano, managed Rosso
Uptown.” (¶ 22).2

        Mr. Tizzano admitted at his deposition that he “helped” Mr. Gammella at Rosso Uptown
“Whenever he needed me.” (Tizzano Dep. 14:15-15:13).3 Mr. Tizzano told customers that he
was a manager of Rosso Uptown, Ltd. (Tizzano Dep. 17:25 - 22:14). He told members of the
press that he was the “General Manager” of Rosso Uptown. (81:15-83:3). He “advised” Mr.
Gammella on what to do with the restaurant’s menu and design. (Tizzano Dep. 24:8-24:13). He
did promotional work the restaurant, including Facebook and Instagram. (Tizzano Dep. 32:21-
33:4). He spoke to members of the press on behalf of Rosso Uptown. (Tizzano Dep. 33: 25-
35:7). When at the restaurant he would tell employees to do things (40:22-40:25), and would
“show them how to work properly.” (41:5 – 41:15). When he encountered a difficult employee
he would report this to Mr. Gammella, who sometimes listened to his advice. (42:9-42:20).

        He held the food certificate for Rosso Uptown issued by the Nassau County Health
Department. 67:14-68:20). He used his personal Facebook page to advertise job openings at
Rosso Uptown and listed his personal cell phone number as the number to call for those
interested. (70:12 –71 : 23). He described a process of meeting with job applicants in which he

1
  A copy of the transcript of Mr. Gamella’s testimony is annexed hereto as Exhibit 1.
2
  Several pages from the Answer in Barrera are annexed hereto as Exhibit 2.
3
  A copy of the transcript of Mr. Tizzano’s Deposition is annexed hereto as Exhibit 3.



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enquired about their abilities , including the ability to cook, their experience , knowledge, and
their character, but refused to call this a “job interview.” (73:3- 73 : 22 ).

       In support of our anticipated motion for summary judgment, the Plaintiff’s will explain
that Mr. Tizzano, unsurprisingly, was a co-manager with Mr. Gammella at Rosso Uptown who
supervised employees, hired employees, fired employees, and managed the day-to-day
operations of the restaurant.

                    THERE IS NO NEED FOR A TRIAL ON DAMAGES

        Given the default of Rosso Uptown, Ltd., the Court may find that the NYLL/FLSA
violations were willful. Pineda v. Masonry Constr., Inc., 831 F. Supp. 2d 666, 671 (S.D.N.Y.
2011) (adopting the magistrate judge's determination "that Defendants' default results in a
finding that they willfully violated state and federal labor laws"); Cao v. Wu Liang Ye Lexington
Rest., Inc., No. 08 Civ. 3725 (DC), 2010 U.S. Dist. LEXIS 109373, 2010 WL 4159391, at *2
(S.D.N.Y. Sept. 30, 2010) (holding that "defendants defaulted and thus plaintiffs' allegations that
the FLSA violations were willful are deemed admitted"). Moreover, the Court may accept facts
taken from the plaintiffs’ complaint and affidavits as true for purposes of establishing damages.
Newman v. W. Bar & Lounge, Inc., No. 20-CV-1141 (KAM)(RER), 2021 U.S. Dist. LEXIS
110040, at *2 (E.D.N.Y. June 11, 2021) (citing City of N.Y. v. Mickalis Pawn Shop, L.L.C., 645
F.3d 114, 137 (2d Cir. 2011)).

        Where the employer fails to produce payroll records in discovery to rebut the plaintiff’s
recollections, or where the employer has defaulted, the employee's recollection and estimates of
hours worked are presumed to be correct. Gomez v. El Rancho De Andres Carne De Tres Inc.,
No. CV 2012-1264 (CBA)(MDG), 2014 U.S. Dist. LEXIS 45580, at *16-17 (E.D.N.Y. Mar. 11,
2014).

        Here both situations apply: there is a default and a failure to produce. Although Rosso
Uptown paid the plaintiffs “on the books” through a payroll company (Gammella Dep. 28:15-
20), the defendants haven’t produced a single document that would reflect the hours worked by
the plaintiffs or the wages paid to them. Defendants haven’t produced any timesheet, punch card,
payroll check, paystub, or hiring notice. Therefore, the Court may rely on the deposition
testimony and affidavits of the Plaintiffs to establish damages.

                                             CONCLUSION

        For the foregoing reason, Plaintiffs intend on filing a single motion for a default
judgment against the corporate defendant and a motion for summary judgment as to the liability
of the individual defendants therefor.

                                                      Respectfully Submitted,
                                                      Steven J. Moser
                                                      Steven J. Moser
CC:    All counsel of record via ECF


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